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11     **Application for Admission Pro Hac Vice
       Forthcoming
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13                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
14                                 OAKLAND DIVISION

15
     KEVIN PRASAD,                                      Case No. 4:22-cv-01346-JST
16
                   Plaintiff,                           ADMINISTRATIVE MOTION TO
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                                                        CONSIDER WHETHER CASES
            v.                                          SHOULD BE RELATED PURSUANT
18
                                                        TO LOCAL RULES 3-12 AND 7-11
19   CARLOS G. BOLANOS, et al.,

20                 Defendants.

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     ADMIN. MOT. RE RELATED CASES                 1                   Case No. 4:22-cv-01346-JST
               Case 4:22-cv-01346-JST Document 24 Filed 04/21/23 Page 2 of 5




 1                                   ADMINISTRATIVE MOTION
 2          Pursuant to Civil Local Rules 3-12 and 7-11, Plaintiffs in the recently removed action
 3   A.B.O. Comix v. County of San Mateo, No. 4:23-cv-01865-DMR, file this administrative motion
 4   asking the Court to consider whether that case should be related to Prasad v. Bolanos, No. 4:22-
 5   cv-01346-JST, a case Mr. Prasad voluntarily dismissed on March 27, 2023. As explained in the
 6   attached Declaration of Aaron Mackey, counsel for Plaintiffs in A.B.O. Comix notified counsel for
 7   Defendants via email of their intent to file this motion, seeking a stipulation as required by Civil
 8   Local Rule 7-11(a). Defendants’ counsel informed Plaintiffs that Defendants would not stipulate
 9   that the cases were related.
10      I. THE TWO ACTIONS ARE RELATED.
11          Both requirements of the Rule 3-12(a) of the Northern District of California’s Civil Local
12   Rules are satisfied here: “(1) The actions concern substantially the same parties, property,
13   transaction, or event; and (2) It appears likely that there will be an unduly burdensome duplication
14   of labor and expense or conflicting results if the cases are conducted before different Judges.” See
15   N.D. Cal. Civ. L.R. 3-12(a).
16              A. Both actions concern substantially the same parties, property, and events.
17          The parties, property, and events at the heart of A.B.O. Comix and Prasad are substantially
18   the same, for four reasons.
19          First, the actions involve the same parties. Both actions involve Plaintiff Kevin Prasad, and
20   both actions name the Sheriff of San Mateo County as a Defendant. See Prasad Am. Compl. 1,
21   ECF. No. 14; A.B.O. Comix Compl. ¶¶ 19, 22–23, 78–81, Ex. A. Although a new sheriff took
22   office between the time Mr. Prasad filed his amended complaint in Prasad and when Plaintiffs
23   filed the complaint in A.B.O. Comix, both actions were brought against the San Mateo County
24   sheriff for official-capacity conduct. See Prasad Order 3, March 14, 2023, ECF No. 19 (explaining
25   that Mr. Prasad stated “a cognizable First Amendment claim against defendant SMCSO’s Sheriff
26   Carlos Bolanos,” citing case law holding that a sheriff could be liable for the implementation of a
27   deficient policy); A.B.O. Comix Compl. ¶ 23 (explaining that Sheriff Corpus “is sued in her official
28   capacity only”).
     ADMIN. MOT. RE RELATED CASES                     2                    Case No. 4:22-cv-01346-JST
                Case 4:22-cv-01346-JST Document 24 Filed 04/21/23 Page 3 of 5




 1            Second, the actions involve largely the same facts and events. Both actions challenge
 2   Defendants’ policy of destroying mail sent to people in its jails—depriving them of physical letters,
 3   drawings, pictures, and mementos. Mr. Prasad, for example, alleged that the Sheriff’s Office “is
 4   currently implementing an unconstitutional policy of banning any and all correspondence (with
 5   the exception of legal correspondence) from entering the facility, with no penological interest
 6   shown.” See Prasad Am. Compl. 3:5–21. Likewise, Plaintiffs in A.B.O. Comix allege that San
 7   Mateo County implemented a policy of “digitizing then destroying mail sent to people in its jails
 8   . . . and of conducting suspicionless surveillance of that mail and the individuals who send it,”
 9   A.B.O. Comix Compl. ¶ 1, Ex. A, and that this policy “serves no legitimate penological purpose,”
10   id. ¶ 8. Both actions explicitly challenge this policy as it pertains to general incoming mail—
11   including personal mail and educational and religious correspondence—rather than legal mail. See
12   Prasad Am. Compl. 3:5–21 (explaining that he does not challenge the treatment of “legal
13   correspondence”); A.B.O. Comix Compl. ¶ 1 (same).
14            Third, the actions involve the same claims. Mr. Prasad’s initial complaint alleged that the
15   County’s mail policy “is a constitutional First Amendment violation [that] denies Plaintiff U.S.
16   postal mail.” See Prasad Compl. 2, ECF No. 1. This Court “liberally construed” the allegations in
17   Mr. Prasad’s Amended Complaint to encompass “a cognizable First Amendment claim.” See
18   Prasad Order 3, March 14, 2023. In A.B.O. Comix, Plaintiffs similarly raise freedom of speech
19   claims under the First Amendment and the California Constitution. See A.B.O. Comix Compl. ¶¶
20   88–90.
21            Fourth, the actions seek the same relief. Mr. Prasad’s Amended Complaint sought the
22   restoration of physical mail at San Mateo County’s jails, see Prasad Am. Compl. 6:1–5, and
23   Plaintiffs in A.B.O. Comix seek an injunction preventing Defendants from “digitizing and
24   subsequently destroying incoming mail” and from “denying incarcerated people access to physical
25   copies of their mail,” A.B.O. Comix Compl. 30:3–6.
26            For these reasons, Prasad and A.B.O. Comix concern substantially the same parties,
27   property, and events, and are far more similar in nature than other cases filed in this District
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     ADMIN. MOT. RE RELATED CASES                      3                   Case No. 4:22-cv-01346-JST
               Case 4:22-cv-01346-JST Document 24 Filed 04/21/23 Page 4 of 5




 1   challenging the County’s treatment of legal mail. See, e.g., Briggs v. San Mateo Cnty., 4:22-cv-
 2   05012-YGR. 1
 3              B. There will likely be an unduly burdensome duplication of labor and expense
                   or conflicting results if the cases are conducted before different Judges.
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             Declining to treat A.B.O. Comix as related to Prasad risks the unduly burdensome
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     duplication of labor and conflicting results. Although Prasad was voluntarily dismissed on March
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     27, 2023, this Court had already made preliminary rulings in that case that are relevant to A.B.O.
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     Comix v. County of San Mateo. For example, in this Court’s screening of Mr. Prasad’s Amended
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     Complaint under 28 U.S.C. § 1915A, it held that “the operative complaint states a cognizable First
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     Amendment claim against defendant Sheriff Carlos Bolanos.” See Prasad Order 4, March 14,
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     2023. To reach this conclusion, this Court had to familiarize itself with the relevant First
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     Amendment caselaw, see id. at 3, as well as the factual background concerning the County’s
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     decision to ban physical mail, id. at 2. Because this Court has already familiarized itself with the
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     relevant facts and entered preliminary legal decisions in Prasad, relating the two cases would
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     promote judicial economy and avoid the risk of conflicting findings.
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           II. CONCLUSION
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             For the foregoing reasons, the A.B.O. Comix Plaintiffs respectfully request that A.B.O.
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     Comix v. County of San Mateo, No. 4:23-cv-01865, be related to Prasad v. Bolanos, No. 4:22-cv-
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     01346-JST.
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     ///
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          Plaintiffs are aware of two other cases challenging the County’s mail policy that were filed on
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     the same day or the day before Prasad and received lower-numbered case captions. See Johnson
23   v. San Mateo Cnty., No. 5:22-cv-01342; Majors v. Pine, No. 3:22-cv-01343. Neither of these cases
     involved Plaintiffs or Defendants, as the defendants in Johnson and Majors were the individuals
24   serving on the San Mateo County Board of Supervisors rather than the County itself. See Johnson
     Compl. 2, Johnson v. San Mateo Cnty., No. 5:22-cv-03152, ECF No. 1; Majors Compl. 2, Majors
25   v. Pine, No. 3:22-cv-01343, ECF No. 1. Additionally, neither case involved the same level of
26   judicial involvement as Prasad: Majors was dismissed for failure to prosecute, see Order 1, Majors
     v. Pine, No. 3:22-cv-01343, July 26, 2022, ECF No. 12, while Johnson was dismissed after the
27   plaintiff elected not to file an amended complaint, see Order 1, Aug. 24, 2022, Johnson v. San
     Mateo Cnty., No. 5:22-cv-01342, ECF No. 9. For these reasons, neither Johnson nor Majors meet
28   the criteria for relation to the extent that Prasad does.
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            Case 4:22-cv-01346-JST Document 24 Filed 04/21/23 Page 5 of 5




     DATED: April 21, 2023                Respectfully submitted,
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